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                    1   MICHAEL L. HINCKLEY (CSBN 161645)
                        LIDIA S. STIGLICH (CSBN 182100)
                    2   STIGLICH & HINCKLEY, LLP
                        502 Seventh Street
                    3   San Francisco, California 94103
                        Tel: 415-865-2539
                    4   Fax: 415-865-2538
                    5   Attorney for Defendant
                        RAWLIN REYES
                    6
                    7                                           UNITED STATES DISTRICT COURT
                    8                                        NORTHERN DISTRICT OF CALIFORNIA
                    9                                                 SAN FRANCISCO DIVISION
                   10
                        UNITED STATES OF AMERICA,                                      Case No. CR 06-0144-JSW (BZ)
                   11             Plaintiff,
                   12         v.                                                       STIPULATION AND [PROPOSED]
                                                                                       ORDER RE: TRAVEL REQUEST
                   13   RAWLIN REYES, et. al
                   14                        Defendants.
                   15                                                        /
                   16
                                   Defendant RAWLIN REYES, by and through his counsel Michael L. Hinckley and the
                   17
                        United States of America, through Assistant United States Attorney Cynthia Stier, hereby
                   18
                        stipulate and agree Mr. Reyes’ pretrial release conditions may be modified to permit travel from
                   19
                        his present residence in Fremont, California to Vallejo, California, in the Eastern District so that
                   20
                        he and his family may visit Marine World amusement park where they have a summer pass.
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                        U.S. v. RAWLIN REYES, CR 06-0144-JSW (BZ)
     Law Offices        Stip. & [Proposed] Order Re: Travel Request
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                    1              Mr. Reyes’ assigned United States Pretrial Services Officer, Paul Mamaril, has been
                    2   informed of this request and has no objection.
                    3
                                  IT IS SO STIPULATED.
                    4
                    5   Dated: 06/20/2006                                                /S/
                                                                          MICHAEL L. HINCKLEY
                    6                                                     Attorney for Defendant
                                                                          RAWLIN REYES
                    7
                    8
                    9   Dated: 06/20/2006                         .                  /S/
                                                                          CYNTHIA STIER
                   10                                                     Assistant United States Attorney
                   11
                   12
                   13                                                     ORDER
                   14             Pursuant to stipulation, Mr. Reyes’ pretrial release conditions are hereby modified such
                   15   he is granted permission to travel from his present residence in Fremont, California to Vallejo,
                   16   California, in the Eastern District so that he and his family may visit Marine World amusement
                                                                                                   ISTRIC
                   17   park. All other conditions of release to remain.
                                                                                              TES D      TC
                   18             IT IS SO ORDERED.                                         TA
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                   19                                                                              ED                   RT
                                                                                             ORDER
                                                                                  UNIT




                        Dated:        June 26, 2006                   .              I S S O
                   20                                                              IT ZIMMERMAN
                                                                          HON. BERNARD                                      R NIA
                                                                          United States Magistrate Judge
                   21                                                                                              man
                                                                                                             Zimmer
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                                                                                            Judge B
                                                                                                                           FO



                   22
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                    1                                                 PROOF OF SERVICE
                    2
                                  I, the undersigned say:
                    3
                                  I am over eighteen years of age and not a party to the above action. My business address
                    4
                        is 1306 Pine Street, Walnut Creek, California 94596.
                    5
                        On 6/20/06, I personally served via Fax a copy of the attached on the following:
                    6
                                                          Paul Mamaril
                    7                                     ___________________
                                                          Pretrial Services Officer
                    8                                     Oakland, California 94102
                                                          (510) 637-3751
                    9
                   10             I declare under penalty of perjury that the foregoing is true and correct. Executed on
                   11
                        6/20/06, at Walnut Creek, California.
                   12
                   13   Dated: 06/20/2006                                                   /S/
                                                                             MICHAEL L. HINCKLEY
                   14                                                        Attorney for Defendant
                                                                             RAWLIN REYES
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                        U.S. v. RAWLIN REYES, CR 06-0144-JSW (BZ)
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